Case 2:13-cv-00634-JRG Document 83 Filed 01/20/16 Page 1 of 2 PageID #: 2824




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

DATAQUILL LIMITED,                           §
                                             §
               Plaintiff,                    § Civil Action No. 2:13-CV-00633-JRG
                                             §
                                             §
        v.                                   §
                                             §
ZTE (USA) INC.,                              §
                                             §
               Defendant.                    §
                                             §


                   ORDER GRANTING JOINT MOTION TO DISMISS


       Plaintiff DataQuill Ltd. (“DataQuill”) and Defendant ZTE (USA), Inc. (“ZTE”) jointly

announce to the Court that they have reached a settlement agreement that resolves all matters in

this controversy between them, and, on this day, they jointly move the Court to grant this Order

of Dismissal. The Court, having considered the moving parties’ present motion, finds that the

joint motion for dismissal (Dkt. No. 185) should be GRANTED, as follows:

IT IS HEREBY ORDERED that all claims, counterclaims, and defenses that have been, or
could have been, asserted in this lawsuit against ZTE (USA), Inc. by DataQuill Limited are
dismissed with prejudice.

IT IS HEREBY ORDERED that all claims, counterclaims, and defenses that have been or
could have been asserted in this lawsuit against DataQuill Limited by ZTE (USA), Inc. are
dismissed with prejudice.

IT IS HEREBY ORDERED that all attorneys’ fees, costs of court, and expenses shall be borne
by each party incurring the same.

All other motions that have not yet been decided are hereby DENIED.
 Case 2:13-cv-00634-JRG Document 83 Filed 01/20/16 Page 2 of 2 PageID #: 2825


So Ordered and Signed on this

Jan 19, 2016




                                      2
